 

Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page1of23  cLERK OF STATE COL
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21~C-05596-

9/1/2021 8:15 £
TIANA P. GARNER, CLE

   

IN THE STATE COURT OF GWINNETT COUNTY ~— EXHIBIT —

STATE OF GEORGIA
WANDA SHADIX and SHERREL
SHADIA,
Plaintiffs, CIVIL ACTION FILE NO: °
. 21-C-05596-S1
V.

YUMI BRANDS, INC., TACO BELL OF
AMERICA, LLC, and JOHN DOES 1-5,

* + SF he me et FF HE HF

Defendants.

ANSWER AND DEFENSES OF DEFENDANTS, TACO BELL OF AMERICA,
LLC AND YUN BRANDS, INC.

COMES NOW, TACO BELL OF AMERICA, LLC ("Taco Bell”) and YUMI
BRANDS, ING. (“Yum"), improperly sued in this matter (collectively
“Defendants’), and files the following Answer and Defenses to Plaintiffs’
Complaint for Damages (“Complaint”), and respectfully shows the Court as
follows:

FIRST DEFENSE

The Complaint fails to set forth a claim against Defendants upon which

relief can be granted.
SECOND DEFENSE
For a Second Defense, this Defendant answers the numbered paragraphs

| of the factual allegations of the Complaint as follows:

- 1
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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 2 of 23

PARTIES
1.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 1 of the Complaint and,
therefore, cannot admit or deny same.

2.

Defendants deny that Yum, a North Carolina corporation with a principal
place of business in Louisville, Kentucky, is a North Carolina limited liability
company. With regards to the remaining allegations of Paragraph 2, Defendants
admit only that Yum’s agent for service of process in North Carolina is CT
Corporation System, 160 Mine Lake Ct. Suite 200, Raleigh, North Carolina
27615.

3. .

As to the allegations contained in Paragraph 3, Defendants admit that
Taco Bell is a Delaware limited liability company with a principal place of
business in Irvine, California, who may be served in Georgia through its
registered agent, CT Corporation System, 289 S. Culver Street, Lawrenceville,
Georgia 30046-4805. As to the remaining allegations contained in Paragraph 3,
Defendants admit only that Yum is the ultimate parent company of Taco Bell.

4,

Defendants admit only that at all relevant times hereto, Taco Bell owned,
operated, and managed a Taco Bell restaurant located at 2234 U.S. Highway 41,
Calhoun, Georgia 30701. Defendants deny the remaining allegations of

Paragraph 4.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 3 of 23

5,

Defendants deny the allegations contained in Paragraph 5 of the
Complaint as phrased.

6.

Defendants deny the allegations contained in Paragraph 6 of the
Complaint as phrased.

7,
Defendants deny Paragraph 7 of the Complaint.
8.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 8 of the Complaint and,
therefore, cannot admit or deny same.

JURISDICTION & VENUE
9.

Defendants admit only that this Court has jurisdiction over Taco Bell, but
deny that said jurisdiction is exclusive. Defendants deny this Court has
jurisdiction over Yum.

10.

Defendants admit this Court has jurisdiction over the subject matter, but

deny that said jurisdiction is exclusive.
11,
Defendants deny the allegations contained in Paragraph 11 of the

Complaint as phrased.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 4 of 23

12.

Defendants deny the sale of defective food products alleged in Paragraph
12 of the Complaint. Defendants deny the remaining allegations contained in
Paragraph 12 of the Complaint.

13.

Defendants deny the allegations contained in Paragraph 13 of the
Complaint,

14.

Defendants deny all negligent and wrongful acts and omissions alleged in
Paragraph 14 of the Complaint. Defendanis deny the remaining allegations
contained in Paragraph 14 of the Complaint.

15.

Defendants deny the allegations contained in Paragraph 15 of the

Complaint. | |
16.

Defendants deny the allegations contained in Paragraph 16 of the
Complaint.

17.

Defendants deny the allegations contained in Paragraph 17 of the
Complaint.

18.
Defendants admit only that Taco Bell has been properly served in this

matter. Defendants deny Yum has been properly served.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 5 of 23

FACTS
19.

Defendants deny the allegations contained in Paragraph 19 of the
Complaint.

20.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 20 of the Complaint and,
therefore, cannot admit or deny same.

271.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 21 of the Complaint and,
therefore, cannot admit or deny same.

a2.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 22 of the Complaint and,
therefore, cannot admit or deny same.

23.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 23 of the Complaint and,
therefore, cannot admit or deny same.

2A,

Defendants are without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 24 of the Complaint and,

therefore, cannot admit or deny same.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 6 of 23

20.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 25 of the Complaint and,
therefore, cannot admit or deny same.

26.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 26 of the Complaint and,
therefore, cannot admit or deny same.

27.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 27 of the Complaint and,
therefore, cannot admit or deny same.

28.

Defendants are without knowledge or information sufficient to form a
belief as to the truth of the allegations contained in Paragraph 28 of the
Complaint and, therefore, cannot admit or deny same.

29,

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 29 of the Complaint and,
therefore, cannot admit or deny same.

30,
Defendants deny the allegations contained in Paragraph 30 of the

Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 7 of 23

31.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 31 of the Complaint and,
therefore, cannot admit or deny same.

32.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 32 of the Complaint and,
therefore, cannot admit or deny same.

33.

Defendants are without Knowledge or information sufficient fo form a belief
as to the truth of the allegations contained in Paragraph 33 of the Complaint and,
therefore, cannot admit or deny same.

34.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 34 of the Complaint and,
therefore, cannot admit or deny same.

35.

Defendants deny the allegations contained in Paragraph 35 of the
Complaint.

36.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 36 of the Complaint and,

therefore, cannot admit or deny same.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 8 of 23

ST,

Defendants deny the allegations contained in Paragraph 37 of the
Complaint.

38.

Defendants deny the allegations contained in Paragraph 38 of the
Complaint.

39.

Defendants deny the allegations contained in Paragraph 39 of the
Complaint as phrased.

AO,

Defendants deny the allegations contained in Paragraph 40 ‘of the
Complaint as phrased.

41.

Defendants deny the allegations contained in Paragraph 41 of the
Complaint as phrased.

42.

Answering Paragraph 42 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with unhealthy and
dangerous foodborne pathogens which was unsafe and unfit for human
consumption.

43.
Answering Paragraph 43 of the Complaint, at all relevant times hereto, the

Defendants deny the sale of any food product contaminated with unhealthy and

-8-
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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 9 of 23

dangerous foodborne pathogens which was unsafe and unfit for human
consumption,
44,

Answering Paragraph 44 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with unhealthy and
dangerous foodborne pathogens which was unsafe and unfit for human
consumption.

45.

Answering Paragraph 45 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with unhealthy and
dangerous foodborne pathogens which was unsafe and unfit for human
consumption.

A6.

Answering Paragraph 46 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with unhealthy and
dangerous foodborne pathogens which was unsafe and unfit for human
consumption. Defendants deny the remaining allegations contained in Paragraph
46 of the Complaint.

47.

Defendants deny the allegations contained in Paragraph 47 of the

Compiaint.
48.
Defendants deny the allegations contained in Paragraph 48 of the

Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 10 of 23

4g,
Defendants deny the allegations contained in Paragraph 49 of the
| Complaint.
50.
Defendants deny the allegations contained in Paragraph 50 of the
Compiaint.
51.
Defendants deny the allegations contained in Paragraph 51 of the
Complaint.

COUNT!
NEGLIGENCE OF EACH OF THE DEFENDANTS

«52,

Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 51 above, inclusive, as their response to Paragraph 52 of
the Complaint.

53.

Defendants deny the allegations contained in Paragraph 53 of the
Complaint as phrased.

D4.

Defendants deny the allegations contained in Paragraph 54 of the
Complaint.

55.
Defendants deny the allegations contained in Paragraph 55,

subparagraphs (a)-(h) of the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 11 of 23

56,
Defendants deny any and all allegations of negligence, violations of
0.C.G.A., or negligence per se contained in Paragraph 56 of the Complaint.
57.
Defendants deny any and all allegations of negligence, violations of
0.C.G.A., or negligence per se contained in Paragraph 57 of the Complaint.
58.
Defendants deny the allegations contained in Paragraph 58 of the
Complaint.
59.
Defendants deny the allegations contained in Paragraph 59 of the
Complaint.
60.
Defendants deny the allegations contained in Paragraph 60 of the
Complaint.

COUNT Il
VIOLATONS OF GEORGIA’'S FOOD ACT BY EACH OF THE DEFENDANTS

671.
Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 60 above, inclusive, as their response to Paragraph 61 of

the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 12 of 23

62.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 62 of the Compiaint and,
therefore, cannot admit or deny same.

63.

Defendants deny the allegations contained in Paragraph 63 of the
Complaint as phrased,

64.

Defendants deny the allegations contained in Paragraph 64,
subparagraphs (a)-(c) of the Complaint.

65.

Defendants deny the allegations contained in Paragraph 65 of the
Complaint.

66.

Answering Paragraph 66 of the Complaint, at all relevant times hereto, the
Defendants deny any violations of the Georgia Food Act. Defendants deny the
remaining allegations contained in Paragraph 66 of the Complaint.

COUNT III
BREACH OF IMPLIED WARRANTY OF WHOLESOMENESS
BY EACH OF THE DEFENDANTS
G7.

Defendants restate and incorporate by reference their responses to

Paragraphs 1 through 66 above, inclusive, as their response to Paragraph 67 of

the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 13 of 23

68.

Answering Paragraph 68 of the Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of wholesomeness alleged
therein and deny they sold food products to Plaintiff Wanda Shadix which caused
food poisoning injuries. Defendants are without knowledge or information
sufficient to form a belief as to the truth of any remaining allegations contained in
Paragraph 68 the Complaint and, therefore, cannot admit or deny same.

69.

Defendants deny the allegations contained in Paragraph 69 of the
Complaint as phrased.

70.

Defendants deny the allegations contained in Paragraph 70,
subparagraphs (a)-(d) of the Complaint.

| 71.

Answering Paragraph 71 of fhe Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of wholesomeness alleged
therein. Defendants deny the remaining allegations contained in Paragraph 71.

72.

Answering Paragraph 72 of the Complaint, at all relevant times hereto, the

Defendants deny any breach of the implied warranty of wholesomeness alleged

therein. Defendants deny the remaining allegations contained in Paragraph 72.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 14 of 23

COUNT IV
BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
BY EACH OF THE DEFENDANTS
73.

Defendants restate and incarporate by reference their responses to
Paragraphs 1 through 72 above, inclusive, as their response to Paragraph 73 of
the Compiaint.

7A.

Answering Paragraph 74 of the Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of merchantability alleged
therein and deny they sold food products to Plaintiff Wanda Shadix which caused
food poisoning injuries. Defendants are without knowledge or information
sufficient to form a belief as to the truth of any remaining allegations contained in
Paragraph 74 the Complaint and, therefore, cannot admit or deny same.

7,
Defendants deny the allegations contained in Paragraph 75 of the
Complaint as phrased.
76.

Defendants deny ithe allegations contained in Paragraph 76,

subparagraphs (a)-(d) of the Complaint.
77.

Answering Paragraph 77 of the Complaint, at all relevant times hereto, the

Defendants deny any breach of the implied warranty of merchantability alleged

therein. Defendants deny the remaining allegations contained in Paragraph 77.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 15 of 23

78,

Answering Paragraph 78 of the Complaint, at ali relevant times hereto, the
Defendants deny any breach of the implied warranty of merchantability alleged
therein. Defendants deny the remaining allegations contained in Paragraph 78.

COUNT V

BREACH OF IMPLIED WARRANTY OF FITNESS
BY EACH OF THE DEFENDANTS

 

79.

Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 78 above, inclusive, as their response to Paragraph 79 of
the Complaint.

80.

Answering Paragraph 80 of the Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of fitness alleged therein
and deny they sold food products to Plaintiff Wanda Shadix which caused food |
poisoning injuries. Defendants are without knowledge or information sufficient to
form a belief as to the truth of any remaining allegations contained in Paragraph
80 the Complaint and, therefore, cannot admit or deny same.

81.

Defendants deny the allegations contained in Paragraph 81 of the

Complaint as phrased.
82.
Defendants deny the allegations contained in Paragraph 82,

subparagraphs (a)-(d) of the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 16 of 23

83.

Answering Paragraph 83 of the Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of fitness alleged therein.
Defendants deny the remaining allegations contained in Paragraph 83.

84.

Answering Paragraph 84 of the Complaint, at all relevant times hereto, the
Defendants deny any breach of the implied warranty of fitness alleged therein.
Defendants deny the remaining allegations contained in Paragraph 84.

COUNT VI
STRICT LIABILITY UNDER 0.C.G.A. § 51-1-23 AGAINST
EAGH OF THE DEFENDANTS
85,

Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 84 above, inclusive, as their response fo Paragraph 85 of
the Complaint, | |

86.

Defendants deny any and all allegations of violations of O.C.G.A, § 51-1-
23 contained in Paragraph 86 of the Complaint. Defendants deny any remaining
allegations contained in Paragraph 86 of the Complaint.

87.
Defendants deny any and all allegations of violations of O.C.G.A. § 51-1-

23 contained in Paragraph 87 of the Complaint. Defendants deny any remaining

allegations contained in Paragraph 87 of the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 17 of 23

88.

Defendants deny any and all allegations of violations of O.C.G.A, § 51-1-
23 contained in Paragraph 88 of the Complaint. Defendants deny any remaining
allegations contained in Paragraph 88 of the Complaint.

COUNT Vil
STRICT PRODUCTS LIABILITY DUE TO DEFECTIVE CONDITIONS AND
FAILURE TO WARN AGAINST EACH OF THE DEFENDANTS
89.

Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 88 above, inclusive, as their response to Paragraph 89 of
the Complaint.

90.

Defendants deny any and all allegations that they stored, cooked,
prepared, handled, packaged, labeled, placed in the stream of commerce,
provided, served and sold food products consumed by Plaintiffs on June 10,
2020 which caused food poisoning injuries to Plaintiff, Wanda Shadix.
Defendants are without knowledge or information sufficient to form a belief as to
the truth of any remaining allegations contained in Paragraph 90 the Complaint
and, therefore, cannot admit or deny same.

91.

Defendants deny the allegations contained in Paragraph 91 of the

Complaint.
92.
Answering Paragraph 92 of the Complaint, at all relevant times hereto, the

Defendants deny the sale of any food product contaminated with harmful

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 18 of 23

bacterial pathogens and/or which were not properly cooked or prepared.
Defendants deny any remaining contained in Paragraph 92 of the Complaint.
93.

Answering Paragraph 93 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with harmful
bacterial pathogens and/or which were not properly cooked or prepared.
Defendants deny any remaining allegations contained in Paragraph 93 of the
Complaint.

94,

Answering Paragraph 94 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any food product contaminated with harmful
bacterial or foodborne pathogens, and/or which were not properly cooked or
prepared, negligently prepared, or unfit for human consumption. Defendants
deny any remaining allegations contained in Paragraph 94 of the Complaint.

95.

Answering Paragraph 95 of the Complaint, at all relevant times hereto, the
Defendants deny the sale of any defective and unreasonably dangerous food
product. Defendants deny any remaining contained in Paragraph 95 of the
Complaint.

DAMAGES — PLAINTIFF WANDA SHADIX
96,

Defendants restate and incorporate by reference their responses to

Paragraphs 7 through 95 above, inclusive, as their response to Paragraph 96 of

the Complaint.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 19 of 23

97.

Answering Paragraph 97, Defendants deny any wrongful acts and
omissions alleged in Plaintiffs Complaint and deny any food product sold to the
Plaintiffs was the cause of Wanda Shadix’s alleged injuries and damages.

98.

Answering Paragraph 98, Defendants deny any wrongful acts and
omissions alleged in Plaintiffs Complaint and deny any food product sold to the
Plaintiffs was the cause of Wanda Shadix’s alleged injuries and damages.

99.

Answering Paragraph 98, Defendants deny any wrongful acts and
omissions alleged in Plaintiffs Complaint and deny any food product sold to the
Plaintiffs was the cause of Wanda Shadix's alleged injuries and damages.
Defendants deny the remaining allegations of Paragraph 99 of the Complaint.

| 400. |

Answering Paragraph 100, Defendants deny any wrongful acts and
omissions alleged in Plaintiffs Complaint and deny any food product sold to the
Plaintiffs was the cause of Wanda Shadix’s alleged injuries and damages.
Defendants deny the remaining allegations of Paragraph 100 of the Complaint.

404.
Defendants deny Plaintiff Wanda Shadix is entitled to recover any

damages for the claims alleged in this Complaint against Defendants.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 20 of 23

LOSS OF CONSORTIUM — PLAINTIFF SHERREL SHADIX

 

102.

Defendants restate and incorporate by reference their responses to
Paragraphs 1 through 101 above, inclusive, as their response to Paragraph 102
of the Complaint.

103.

Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph 103 of the Complaint
and, therefore, cannot admit or deny same.

104.

Answering Paragraph 104 of the Complaint, the Defendants deny all
negligence, wrongful acts and omissions alleged in the Complaint and deny any
food product sold to the Plaintiffs was the cause of Wanda Shadix's or Sherrel
Shadix's alleged injuries and damages. Defendants are without knowledge or
information sufficient to form a belief as to the truth of any remaining allegations
contained in Paragraph 104 of the Complaint and, therefore, cannot admit or
deny same.

105,

Defendants deny Plaintiff Sherrel Shadix is entitled to recover for loss of
consortium or any damages for the claims alleged in this Complaint against
Defendants.

106.
Defendants deny Plaintiff Sherrel Shadix is entitled to recover any

damages for the claims alleged in this Complaint against Defendants.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 21 of 23

Defendant denies the allegations and prayers contained in the paragraph
beginning “WHEREFORE” following Paragraph 106 of the Complaint.
Any allegation of the Complaint not admitted, denied, or otherwise
responded to above is hereby denied.
THIRD DEFENSE
Defendants are not liable to Plaintiffs because these Defendants breached
no duty owed to Plaintiffs.
FOURTH DEFENSE
No act or omission on the part of Defendants caused or contributed to any
of the alleged damages claimed and, therefore, Plaintiffs are not entitled to
recover anything from these Defendants.
FIFTH DEFENSE
Pending further investigation, the sole, direct, and proximate cause of any
injury or damage which Plaintiffs may have sustained was due to the negligence
of some person, persons or entity other than these Defendants and therefore
Plaintiffs are not entitled to recover anything from these Defendants.
SIXTH DEFENSE
Pending further investigation, the Complaint should be dismissed for
failure to join a necessary and/or indispensable party.
SEVENTH DEFENSE
To the extent Plaintiffs failed to use ordinary care to prevent or mitigate
their alleged damages, in whole or in part, if any, Plaintiffs are not entitled to

recover such damages.

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 22 of 23

WHEREFORE, Defendants Taco Bell of America, LLC and Yum! Brands,
Inc. pray that the Complaint be dismissed with costs of this action cast against
Plaintiffs.

This 18 day of September, 2021.

MABRY & McCLELLAND, LLP

By: (\. VV
Jamés W. Scarbrough
Georgia Bar No. 628328

Attorney for Defendants Yum! Brands, Inc.,
Taco Bell of America, LLC,

 

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Case 1:21-cv-03638-AT Document 2 Filed 09/01/21 Page 23 of 23

CERTIFICATE OF SERVICE
This is to certify that | have this day served a copy of the within and
foregoing pleading upon opposing counsel of record by depositing said copy in

the United States Mail, in a properly addressed envelope, with adequate postage

affixed thereon to:

Mr. Andrew B. Cash

Mir. Shane E. Bartlett

CASH, KRUGLER & FREDERICKS, LLC
5447 Roswell Road, NE

Atlanta, GA 30342

This 18 day of September, 2021.

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Janles W. Scarbrough

 

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